


  — Application by the appellant for a writ of error coram nobis to vacate, on the ground of ineffective assistance of appellate counsel, a decision and order of this Court dated March 22, 2004 (People v Williams, 5 AD3d 705 [2004]), affirming a judgment of the Supreme Court, Kings County, rendered January 7, 2002.
 

  Ordered that the application is denied.
 

  The appellant has failed to establish that he was denied the effective assistance of appellate counsel (see Jones v Barnes, 463 US 745 [1983]; People v Stultz, 2 NY3d 277 [2004]).
 

  Mastro, J.P., Rivera, Austin and LaSalle, JJ., concur.
 
